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 4
     Attorney for Defendant
 5   JOSE JESUS AGUILAR-MADRIZ
 6
                                 UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
                                                   )
10   UNITED STATES OF AMERICA,                     )       CASE NO. 2:10-cr-00299-WBS
                Plaintiff,                         )
11
          vs.                                      )       STIPULATION AND ORDER TO VACATE
12                                                 )       TRIAL READINESS CONFERENCE AND
     JOSE JESUS AGUILAR-MADRIZ,                    )       JURY TRIAL DATE AND SET STATUS
13               Defendant.                        )       CONFERENCE
                                                   )
14
                                                   )
15                                                 )

16

17          IT IS HEREBY STIPULATED by and between Assistant United States Attorney Justin

18   Lee, Counsel for Plaintiff and Attorney Preciliano Martinez, Counsel for Defendant Jose Jesus
19
     Aguilar-Madriz, that the trial readiness conference date scheduled for September 30, 2013, at
20
     9:00 a.m. be vacated for this defendant only, and a status conference be scheduled for December
21

22
     16, 2013, at 9:00a.m., therefore vacating the jury trial date set for October 22, 2013, at 9:00

23   a.m., with respect to this defendant only. A plea agreement has been reached in the defendant’s
24   related case, 2:11-cr-00365-GEB, which upon sentencing may result in dismissal of this case.
25
     The sentencing date is currently on Judge Burrell’s calendar December 6, 2013.
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              Case 2:10-cr-00299-WBS Document 317 Filed 09/18/13 Page 2 of 2


             The
             T court is advised
                        a       that counsel hav
                                               ve conferred about this rrequest that they have aggreed
 1

 2   to the court date of December 16,
                                   1 2013 and
                                            d that Mr. L ee has authoorized Precilliano Martinnez to

 3   sign this stipulation on
                           o his behalff.
 4
             The
             T parties agree and stip
                                    pulate that time
                                                t    should be excludedd under the Speedy Triaal Act
 5
     pursuant to Local Co
                        ode T4 for seentencing, up
                                                 p to and inclluding Decem
                                                                         mber 16, 2013.
 6

 7
                                                                      Respectffully Submittted,

 8
     Dated: September
            S         17
                       7, 2013                                        /s/ Precilliano Martinnez
 9                                                                    Precilianno Martinez
10
                                                                      Attorneyy for Defenddant
                                                                      Jose Jesuus Aguilar-M Madriz
11
     Dated: September
            S         17
                       7, 2013                                        /s/ Justinn Lee
12
                                                                      Assistannt U.S. Attornney
13                                                                    Attorneyy for Plaintifff

14

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16

17                                                  ORDER
                                                    O
18
             Having
             H      read and consideered the foreegoing stipullation, IT IS
                                                                          S THE ORD
                                                                                  DER of the C
                                                                                             Court
19
     that the current
              c       Septeember 30, 20
                                      013, trial reaadiness confe
                                                               ference and tthe current O
                                                                                        October 22, 22013,
20
     jury trial date are herreby vacated
                                       d, with respeect to this deefendant onlyy, and a statuus conferencce for
21

22   this defen
              ndant only be
                         b set for December 16, 2013.
                                                2

23   Dated: September
            S         18
                       8, 2013
24

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